       Case 1:20-cv-01286-RB-KRS Document 45 Filed 10/19/21 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

DIAMOND JARAMILLO,

               Plaintiff,

v.                                                                  No. 1:20-cv-1286 RB/KRS

CHRISTOPHER PADILLA and
ROBERT GONZALES,

               Defendants.

                                    SCHEDULING ORDER

       THIS MATTER comes before the Court following a telephonic Rule 16 scheduling

conference held on October 19, 2021. At the hearing, the Court adopted the parties’ proposed

Joint Status Report and Provisional Discovery Plan, with slight modifications, as reflected in the

dates below

       Accordingly, IT IS HEREBY ORDERED that the parties shall adhere to the following

discovery plan:

       (a) Maximum of twenty (20) interrogatories by each party to any other party with

           responses due thirty (30) days after service.

       (b) Maximum of twenty (20) requests for production by each party to any other party

           with responses due thirty (30) days after service.

       (c) Maximum of twenty (20) requests for admission by each party to any other party with

           responses due thirty (30) days after service

       (d) Maximum of ten (10) depositions by Plaintiff and ten (10) depositions by Defendants,

           collectively. Each deposition (other than of parties and experts) limited to maximum




                                                                                   Scheduling Order
                                                                                        Page 1 of 3
       Case 1:20-cv-01286-RB-KRS Document 45 Filed 10/19/21 Page 2 of 3




           of four (4) hours unless extended by agreement of the parties. Depositions of parties

           and experts limited to seven (7) hours.

       IT IS FURTHER ORDERED that the following case management deadlines shall

govern:

(a)   Deadline for Plaintiff to amend pleadings and join additional parties pursuant to Federal

      Rule of Civil Procedure 15: November 1, 2021;

(b)   Deadline for Defendants to amend pleadings and join additional parties pursuant to Federal

      Rule of Civil Procedure 15: December 1, 2021;

(c)   Deadline for Plaintiff’s expert reports: February 15, 2022;

(d)   Deadline for Defendants’ expert reports: March 15, 2022;

(e)   Termination of discovery: May 2, 2022;

(f)   Deadline for supplementing discovery/disclosures: Within fourteen (14) days of receipt of

      information;

(g)   Motions relating to discovery: May 23, 2022;

(h)   All other motions:1 June 2, 2022;

(i)   Pretrial order:         Plaintiff to Defendant by: July 18, 2022;

                              Defendant to Court by: August 1, 2022.

       IT IS FURTHER ORDERED that the Court must approve any changes to the timing or

scope of discovery, other than the parties’ agreement to extend the length of a deposition made

during the deposition in question. Requests by a party to change the timing or scope of

discovery, other than a mutual agreement to extend a deposition reached during the deposition,



1
 This deadline applies to motions related to the admissibility of experts or expert testimony that
may require a Daubert hearing, but otherwise does not apply to motions in limine. The Court will
set a motions in limine deadline in a separate order.
                                                                                   Scheduling Order
                                                                                        Page 2 of 3
       Case 1:20-cv-01286-RB-KRS Document 45 Filed 10/19/21 Page 3 of 3




must be made by motion and before the termination of discovery or the expiration of any

applicable deadline. Discovery must be completed on or before the termination of the discovery

deadline. A written discovery request must be propounded by a date which ensures that the

response to that request is due on or before the discovery deadline. The parties are further

reminded that the cutoff for motions related to discovery does not relieve the party of the twenty-

one (21) day time period under Local Rule 26.6 to challenge a party’s objections to answering

discovery. The parties are encouraged to review Federal Rule of Civil Procedure 26(a)(2) to

ensure they properly disclose all testifying witnesses, not just those for whom a report is

required.



                                                      ______________________________
                                                      KEVIN R. SWEAZEA
                                                      UNITED STATES MAGISTRATE JUDGE




                                                                                     Scheduling Order
                                                                                          Page 3 of 3
